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SETTLEMENT AGREEMENT AND RELEASE

1. This Settlement Agreement and Release (“Agreement”) is entered into
by and between Joseph Weinman and Kevin Simnitt (“Plaintiffs”) and Spectrum
Paint Company, Inc. (“Defendant”). Plaintiffs and Defendant are jointly referred to
herein as the “Parties.”

2. Statement of Pending Claims. On September 16, 2022, Plaintiff
Joseph Weinman filed the Civil Action, Joseph Weinman, Individually and on
Behalf of All Others Similarly Situated v. Spectrum Paint Company, Inc., No. 4:22-
cv-857-DPM in the United States District Court for the Eastern District of
Arkansas (the “Action”). In the Action, Plaintiffs claim that Defendant failed to
pay Plaintiffs their proper overtime amounts due under the Fair Labor Standards
Act (“FLSA”) and the Arkansas Minimum Wage Act (““AMWA”).

3. Payments. In consideration for signing this Settlement Agreement
and Release, the dismissal of the Action with prejudice, and the fulfillment of the
promises herein, Defendant agrees to pay Plaintiffs and Plaintiffs’ counsel the total
sum of Ten Thousand Nine Hundred Dollars ($10,900.00). Defendant shall
reissue any lost, stale, or damaged checks at no cost upon request from Plaintiffs’
counsel. The payments shall be delivered to Sanford Law Firm, PLLC, 10800
Financial Centre Parkway, Suite 510, Little Rock, Arkansas 72211, within fourteen
(14) days of the Court’s approval of this Agreement, in the following amounts:

a. a check for $1,775.00 made payable to Joseph Weinman, less
all applicable legal taxes and withholdings, representing all unpaid
wages allegedly due, for which Defendant will issue an IRS Form W-
2,

b. a check for $975.00 made payable to Kevin Simnitt, less all
applicable legal taxes and withholdings, representing all unpaid wages
allegedly due, for which Defendant will issue an IRS Form W-2,

C. a check for $1,775.00 made payable to Joseph Weinman,
without withholdings, representing claimed liquidated damages, for
which Defendant will issue Plaintiff an IRS Form 1099,

d. a check for $975.00 made payable to Kevin Simnitt, without
withholdings, representing claimed liquidated damages, for which
Defendant will issue Plaintiff an IRS Form 1099, and

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e. a check for $5,400.00 in settlement of any and all claims for
attorneys’ fees, made payable to Sanford Law Firm, PLLC, for which
Defendant will issue an IRS Form 1099.

4, Motion for Approval. Within seven (7) days of complete execution of
this Agreement,, the Parties will file a Joint Motion for Approval of Settlement and
for Dismissal with Prejudice, in a form to be agreed upon by the Parties.

5. Release of Claims. In exchange for the promises contained herein,
Plaintiffs release and discharge the Defendant, its representatives and assigns, as
well as its predecessors, successors, parent and subsidiary corporations, affiliates,
related entities, directors, and officers (together “Releasees”) from any and all
claims and rights of any kind that Plaintiffs may have, whether now known or
unknown, including, but not limited to, those arising out of or in any way
connected with their employment with Defendant from the beginning of time
through the execution of this Agreement. These claims and rights released include,
but are not limited to, claims under Title VII of the Civil Rights Act of 1964 (as
amended); 42 U.S.C. § 1981 (as amended); the Age Discrimination in Employment
Act; the Equal Pay Act; the Americans With Disabilities Act (as amended);
Sections 503 and 504 of the Rehabilitation Act of 1973; the Family Medical Leave
Act; the Employee Retirement Income Security Act; the Occupational Safety and
Health Act; the Workers’ Adjustment and Retraining Notification Act, as
amended; any claims for overtime compensation, minimum wages, liquidated
damages, penalties and interest, attorneys’ fees and costs under the FLSA or the
AMWA or any other applicable federal or state laws (including statutory and
common law claims for breach of contract, unjust enrichment or other common
law claims relating to wage and hour issues); any state, civil or statutory laws,
including any and all human rights laws, any other federal, state or local fair
employment statute, code or ordinance, common law, contract law, tort, and any
and all claims for attorneys’ fees and costs.

6. Covenant Not to Sue. Plaintiffs covenant not to sue any of the
Releasees for any claim Plaintiffs release in this Agreement.

7. Non-Interference_and Continued Right to Participate in Agency
Proceedings. Nothing in this Agreement shall interfere with the Plaintiffs’ right to
file a charge, cooperate or participate in an investigation or proceeding conducted
by the U.S. Equal Employment Opportunity Commission, the U.S. Securities and
Exchange Commission, or any other federal, state, or local regulatory or law
enforcement agency. Further, nothing in this Agreement shall prohibit Plaintiffs

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from seeking or obtaining a whistleblower award from the Securities and Exchange
Commission pursuant to Section 21F of the Exchange Act.

8. Neutral Reference. Defendant shall not make any statement or take
any action intended to or reasonably likely to dissuade any prospective employer
from hiring Plaintiffs. If a reference from a prospective employer is sought from
Defendant regarding Plaintiffs, Defendant shall provide the reference within a
reasonable time, and shall provide only dates of employment, last salary and last
position or title, unless Plaintiffs have authorized the release of additional
information or such release is required by law as discussed below.

Where Plaintiffs have authorized the Defendant to make such statements or take
such actions in a prospective employer’s request for Plaintiffs’ employment
information, Defendant is free to respond to those requests truthfully. This
paragraph shall not restrict Defendant from complying with any law that requires
the release or disclosure of information. If Plaintiffs are requested, required, or
permitted upon making application for any employment to give a contact at
Defendants or to address any authorization to a specific person or office at
Defendants, he shall name Catherine Patrick, Director of Human Resources,
Catherine. Patrick@spectrumpaint.com - mailto: 918-398-2188.

9. Non-Disparagement. Plaintiffs agree that they shall not disparage or
otherwise communicate negatively about Defendant to third parties. This covenant
does not prohibit the Parties from providing truthful testimony in response to any
lawful subpoena.

10. Entire Agreement. This Agreement contains the entire agreement and
understanding between the Plaintiffs and Defendant with respect to its subject
matter and supersedes all other agreements between the Plaintiffs and Defendant.

11. Headings. The headings contained in the Agreement are for reference
purposes only and shall not in any way affect the meaning or interpretation of this
Agreement.

12. Choice of Law. This Settlement Agreement and Release is to be
interpreted pursuant to the laws of Arkansas, except where the application of
federal law applies.

13. Waiver. Any failure by any party to insist upon the strict performance
by the other party of any of the provisions of this Agreement shall not be deemed a
waiver of any of the other provisions of this Agreement, and such party,

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notwithstanding such failure, shall have the right thereafter to insist upon the
specific performance of any and all of the provisions of this Agreement.

14. Severability. The provisions of this Agreement are severable, and if
any part of it is found to be unenforceable, the other parts shall remain fully valid
and enforceable.

15. Counterparts. The Agreement may be executed in counterparts, each
of which shall be deemed an original, but all of which together shall be deemed the
same Agreement. This Agreement may be signed electronically, and a signed copy
of the Agreement delivered by electronic means to counsel for Plaintiffs or counsel
for Defendant shall be deemed to have the same legal effect as delivery of a
physical copy of the Agreement.

PLAINTIFF PLAINTIFF
Joseph Weinman

Joseph Weinman Kevin Simnitt

Date: 12/09/2023 Date:

DEFENDANT

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ecm Paint Company

Date: rh [1s L>

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PLAINTIFF PLAINTIFF
Joseph Weinman Kevin Simnitt
Date: Date: 12 / 08 / 2023
DEFENDANT

Spéctrum Paint Company

Date: (floor Z

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